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A-O4-OOO786

 

IN THE NEBRASKA COURT OF APPEALS

 

MORTGAGE ELECTR()NIC REGISTRATIONS S_ v IEMS, INC.,
Plaintiff/Appellant 1

 
   
 
 

VS.

NEBRASKA DEPARTMENT OF BANKING A':_
Defendant/Appel_l§_e_" f

  
   

 

 

;; _ THE DISTRICT COURT OF
COUNTY, NEBRASKA

_j' Honorable John A. Colborn

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STATEMENT OF THE BASIS OF JURISDICTION

This appeal from the District Court of Lancaster County, Nebraska (the "District Court")
is brought pursuant to Neb. Rev. Stat. § 25-1912. The trial judge entered the District Court’s
Order on May 27, 2004. The Notice of lntention to Appeal and requisite docket fee Were filed
With the District Court on lune 25, 2004.

STATEMENT OF THE CASE

A. Nature of the Case

Plaintiff/Appellant, Mortgage‘Electronic Registration Systems, Inc. (“MERS”), appeals
from the Order entered by the District Court on May 27, 2004 in favor of Defendant/Appellee,
the Nebraska Department of Banl<ing and Finance (the “Department”). The District Court's
Order came as the result of MERS' Petition for Review, Which MERS filed in the District Court
on November 5, 2003, appealing the decision of the Department that MERS meets the
requirements of a mortgage banker under the Nebraska l\/lortgage Bankers Registration and
Licensing Act (the ”Act"), M. §ey. we §§ 45-701 to 45~721 (1998 and Supp. 2003). (T38)
In the District Court’s Order, the trial judge, John A. Colborn, ruled that MERS M
mortgage loans under the Act, and is therefore required to register under the Act in order to
continue to conduct business in the State of Nebraska. (T42) The District Court did not find that
there is a bifurcation of interests between the holder of the promissory note evidencing a
mortgage loan and MERS, Which only holds the beneficial interest in the mortgage itselr`, in a
nominee capacity for the owner and holder of the promissory note secured by such mortgage

(T42) MERS then filed this appeal.

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B. Issue Actually Tried in the Court Below

1. Whether l\/IERS acquires mortgages loans under the Act and is therefore required
to register as a mortgage banker in Nebraska.

C. How the Issue Was Decided and What Judgment Was Entered by the Court Below

1. The District Court ruled that MERS does acquire mortgage loans under the Act
and is therefore required to register as a mortgage banker in Nebraska.

D. Scope of Review

“A judgment rendered or final order made by the district court may be reversed, vacated,
or modified for errors appearing on the record.” Neb. Rev. Stat. § 25-1911.

“In actions at laW, the findings of the trier of fact Will not be set aside on appeal unless
clearly Wrong. In determining the sufficiency of the evidence to sustain the judgment, that
evidence must be considered in the light most favorable to the successful party. Every
controverted fact must be resolved in favor of the successful party, and the successful party is
entitled to the benefit of any reasonably deducible inferences.” Henkle & Joyce Hardware C0. v.
Maco, Inc., 195 Neb. 565, 239 N.W.2d 772 (1976).

On a question of law, an appellate court is obligated to reach a conclusion independent of
the determination reached by the court below. James v. Paulson, 261 Neb. 980, 622 N.W.2d 857
(2001).

ASSIGNMENTS OF ERROR

1. MERS does not meet the definition of a mortgage banker because MERS does not
engage in any of the mortgage banking activities described in § 45-702(6) of the Act.
Specifically, the District Court erred in determining that MERS “acquires” mortgage loans.

Because MERS does not acquire mortgage loans and is therefore not a mortgage banker for

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purposes of § 45-702(6), the District Court's Order and determination that MERS is required to
register as a mortgage banker under the Act should be reversed and this Court should find that
MERS is not a mortgage banker under the Act and is therefore not required to register under the
Act.

2. The District Court erred in concluding that MERS‘ ability to exercise interests in a
mortgage loan, including the right to foreclose, is sufficient to deem MERS as acquiring
mortgage loans under the Act because the District Court failed to recognize that MERS merely
serves in a nominee capacity for the owner and holder of the promissory note secured by the -
mortgage

3. The District Court erred by not finding that MERS’ ownership of a legal interest
in the mortgage does not equate to MERS’ ownership of the promissory note.

4. The District Court erred by not finding that mortgage loan consumers will not be
harmed if MERS is not registered as a mortgage banker under the Act.

PROPOSITIONS OF LAW
I.
THE COMMON PARLANCE OF THE WORD “ACQUIRE” lN THE
MORTGAGE BANKING INDUSTRY REFERS TO AN INVESTOR’S

ACQUISITION OF A MORTGAGE LOAN ON THE SECONDARY MARKET.

S_outh Boston Sav. Bank v. Commissz'oner of Revenue, 640 N.E.2d 462 (Mass.
1994).

II.

A MORTGAGE AND A PROMISSORY NOTE ARE SEPARATE AND
DISTINCT lNSTRUl\/IENTS.

Craa’dock v. Brinkley, 67] SO. 2d 662 (Miss. 1996).

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III.

THE MERS® SYSTEM DOES NOT ADVERSELY AFFECT THE

BORROWER’S RIGHT TO LOAN lNFORl\/IATION BECAUSE, UNDER

FEDERAL LAWS, EACH TIME THE SERVICING RlGl-ITS TO A

MORTGAGE LOAN CHANGE, THE BORROWER lS NOT[FIED OF THE

NEW SERVICER OF THE LGAN.

24 C.F.R. Part 3500.21 as of4/1/O3 (HUD’s Reg.` X).

STATEMENT OF FACTS

MERS is a private corporation and is a wholly owned subsidiary of MERSCORP, INC.
l\/IERS’ sole purpose is to hold mortgage liens in a nominee (limited form of agency) capacity for
its members. The mortgage information is registered on the MERS® System. The MERS®
System is a national electronic registry created by the mortgage banking industry to track the
transfer of ownership interests and servicing rights in mortgage loans. (T17) 0ver the life of a
mortgage loan, the ownership of the mortgage loan and the servicing rights of the mortgage loan
are likely to be sold and resold many times. (T16) Prior to MERS, an assignment or other
appropriate document was required to be filed in the real estate records each time the servicing
rights of a mortgage loan were transferred because the new servicer needed to appear in the land
records in order to receive service of process. (T16) This process resulted in missed or
inaccurate assignments causing an unclear or broken chain of title to a mortgage loan in the real
estate records. (Tl6) As a consequence, the transfer of the ownership interest in, including legal
title to, mortgage loans, and the servicing rights relating to mortgage loans, and the release of
mortgage liens was a cumbersome and expensive process to all involved (T16) Prior to MERS,

consumers were especially hit hard because research and recording costs were often passed on to

consumers (T16)

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To address these problems, in 1991 the Government National Mortgage Association
("Ginnie l\/lae"), the Mortgage Bankers Association of America ("MBA"), the Federal National
Mortgage Association ("Fannie Mae”), the Federal Home Loan Mortgage Corporation ("Freddie
Mac") and others within the mortgage banking industry created MERS to provide an electronic
registration system and clearinghouse for title to mortgage loans and servicing rights that is
similar to the process successfully used by the Depository Trust Company for the securities
industry. (Tl6) The MERS® System has been endorsed by, and MERS' members include, the
MBA and many large and prominent national and international lenders, agencies such as F annie
Mae, Freddie Mac, and the American Land Title Association and many of the largest and most
well-known title companies (Tl6, 17)

MERS serves as the mortgagee of record inl a nominee (i.e., agency) capacity for the
approximately 1600+ mortgage lenders registered in the MERS® System. MERS becomes the
mortgagee of record with respect to such mortgage loans, as nominee for the beneficial owner of
the mortgage loan, in one of two ways: (1) the borrower and the lender name MERS as the
mortgagee of record at the time the mortgage loan is originated, or (2) the lender causes a
mortgage lien for which the lender previously originated or acquired the note secured by the
mortgage to be assigned of record to MERS, so that MERS becomes the mortgagee of record in
the real estate records in which the mortgage was recorded. (E3, 4:3, Vol. 11)

By letter dated July 11, 2002, the Department notified MERS that MERS meets the
definition of a mortgage banker under Neb. Rev. Stat. § 45-702(6) (1998 & Supp. 2003) of the
Act because MERS is "acquiring loans as a nominee for lenders in Nebraska”. T he Department

indicated that MERS must register as a mortgage banker in Nebraska pursuant to § 45-704 or

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notify the Department of an exemption under the Act. (E2, El, 14:3, Vol. 11) MERS is not
registered as a mortgage banker in any other state. (5:11-19)

After the Department's July ll, 2002 correspondence, MERS and the Department
exchanged numerous faxes, letters and phone calls concerning whether MERS is required to
register as a mortgage banker under the Act. (E2, El, 1-13:3, Vol. ll) On June 19, 2003, MERS
filed a Petition for Declaratory Order (“Petition F or Declaratory Order”) with the Department
seeking a formal determination as to whether MERS is a mortgage banker within the meaning of
the Act, and therefore, required to register as such under the Act. (E3, 1:37 Vol. II) A hearing on
MERS’ Petition for Declaratory Order was held before Samuel P. Baird (the “Director”),
Director of the Department, on August 13, 2003. During oral arguments, MERS and the
Department narrowed the issue before the Director to the question of whether MERS' activities
in Nebraska constitute, directly or indirectly, "acquiring mortgage loans" within the meaning of
the Act. (E3, 26:3, Vol. ll) The Department issued its Declaratory Order on October 7, 2003,
finding that MERS is a mortgage banker under the Act. ' As the basis for its decision, the
Department stated that MERS directly or indirectly acquires mortgage loans As the result, the
Department declared that MERS is required to register as a mortgage banker. (E3, 25-29:3,
Vol. II)

On November 5, 2003, l\/IERS commenced its action in the District Court pursuant to the
Administrative Procedure Act, Neb. Rev. Stat. §§ 84-901 to 84-920 (1999 & Supp. 2003),
petitioning the District Court to review the Department’s determination that MERS meets the
definition of a mortgage banker under the Act. ln its Order, the District Court upheld the
Department’s determination that MERS acquires mortgage loans under the Act and is therefore

required to be licensed as a mortgage banker under the Act. (T41-43)

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ARGUMENT
1.
THE DISTRICT CoURT ERRED IN CoNCLUDING THAT MERS
MEETS THE DEFINITION A “MORTGAGE BANKER” UNDER NEB.
REv. sTAT. § 45-702(6).
I.A.
MERS DoEs NoT “ACQUIRE” MoRTGAGE LoANS oR ENGAGE IN
ANY oF THE oTHER MoRTGAGE BANKING ACTIVITIES
DESCRIBED IN § 45-702(6), AND MERS’ ABILITY To EXERCISE
INTEREsTs IN A MORTGAGE LoAN, INCLUDING THE RIGHT To
FoRECLosE, Is NoT sUFFICIENT To DEEM THAT MERS
ACQUIRES MoRTGAGE LoANs BECAUSE MERS MERELY ACTS IN
A NOMINEE CAPACITY FoR THE owNER AND HOLDER oF THE

PROMISSORY NOTE SECURED BY THE MORTGAGE.

Section 45-702(6) of the Act provides: "l\/lortgage banker means any person not exempt
under section 45-703 who, for compensation or gain or in the expectation of compensation or
gain, directly or indirectly makes originates services negotiates acquires sells arranges for, or
offers to make, originate, service, negptiate, acquire, sell, or arrange for ten or more mortgage
l@§ in a calendar year". Neb. Rev. Stat. § 45-702(6) (1998 & Supp. 2003) (emphasis added).

MERS does not take applications for, underwrite or negotiate mortgage loans MERS
does not make or originate mortgage loans to consumers MERS does not extend any credit to

consumers MERS does not service mortgage loans MERS does not sell mortgage loans Most

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importantly, MERS is not an investor who acquires mortgage loans on the secondary market.
(E3, 18:3, Vol. ll)

The Department and MERS agree that MERS does not underwrite, make, originate,
service, negotiate, sell, arrange for or offer to make, originate, service, negotiate, sell or arrange
for mortgage loans Therefore, the Department and MERS are in agreement that the only
statutory activity at issue, and the only issue for this Court to decide, is whether MERS acquires
mortgage loans (E3, 26:3, Vol. 11)

Although the legislative history of the Act does not discuss why the term “acquire” was
used in § 45~702(6), the common parlance of the word “acquire” in the mortgage banking
industry refers to an investor’s acquisition of a mortgage loan on the secondary market. For
instance, in Souz‘h Boston Sav. Bank v. Commissioner ofRevel/me, 640 N.E.Zd 462 (Mass. 1994),
a Massachusetts court characterized the two ways a bank may come into possession of a
mortgage loan. The court, in South Boston Sav. Bank, stated: “A bank may come into possession
of a mortgage loan either by directly issuing a loan secured by the mortgage of real estate M
acquiring a loan previously issued by another lender.” Id. at 466-67 (emphasis added).

A brief history of why the secondary mortgage market was created helps illustrate this
commonly understood meaning of the term “acquire”. The secondary mortgage market evolved
to facilitate the free flow of money available for mortgage loans to consumers Without the
secondary market, primary mortgage lenders would be limited in the amount of mortgage loans
they could make to consumers because they only have so much capital available to make
mortgage loans Through the secondary market, investors acquire loans from the primary
mortgage lenders thus providing primary lenders with more capital to make additional mortgage

loans The secondary market ultimately provides a free-flow of cash to mortgage lenders to

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make loans to consumers to purchase homes The primary mortgage lenders benefit because
they have additional capital to make more loans and they also receive their ordinary lender’s
fees/commissions for originating the loan. The investors benefit because, as owners of the loans,
they are entitled to the interest income to be earned from the loans Consumers benefit because
there are more funds available for mortgage loans so more consumers can get mortgage
financing

Besides loan “servicing” activities all of the mortgage banking activities described in §
45-702(6) involve the extension of credit. This Court has previously recognized that mortgage
bankers lend money to consumers ln Equz`table Building and L0an Assocz`ation of Grand Islan'd
v. Equz`table M0rtgage Corporatz`on, 11 Neb. App. ‘850, 662 N.W. 2d 205 (Neb. 2003), the court

stated that “a mortgage banker actually lends its own money, closes the loans earns a service

 

premium for the loans and then sells the loans to another bank.” Id. at 209 (emphasis added).
The question then becomes whether MERS lends money to consumers to purchase homes either
at the primary or secondary level. lt is not disputed that MERS is not a primary lender who
makes originates or negotiates or arranges for the making or originating of a mortgage loan
directly to a consumer. Similarly, MERS is not an investor who acquires or negotiates or
arranges for the acquisition of mortgage loans on the secondary market or a bank or servicing
company which acquires the servicing rights to mortgage loans for fee income (E3, 18:3,
Vol. II)

There is no rational basis for determining that MERS acquires loans ln its Order, the
District Court stated:

The procedures for members using the MERS system and documents used for

recording the mortgages [or] other security documents reference MERS as having

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the right “to exercise interests including, but not limited to, the right to foreclose

and sell the property, and to take any action required of Lender including, but not

limited to, releasing and canceling this Security lnstrument.” MERS’ active

participation in the mortgage loan industry of indirectly or directly acquiring legal

title to mortgages along with the ability to exercise lender rights such as

foreclosure are sufficient to classify MERS as “acquiring" mortgage loans as

referenced under Neb. Rev. Stat. § 45-702(6). (T42)

ln its Order, the District Court failed to recognize that MERS, in its agreement with its
members cannot exercise, and is contractually prohibited from exercising, any of the rights or
interests in the mortgages or other security documents MERS is named as the “nominee” owner
unless and until it is authorized to do so by the real and beneficial owners of such security
documents (T38-43) ln the Terms and Conditions between MERS and its members MERS’
authority is clearly limited as evidenced by the following provision from the Terms and
Conditions:

MERS shall serve as mortgagee of record with respect to all such mortgage loans

solely as a nominee, in an administrative capacity, for the beneficial owner or

owners thereof from time to time. MERS shall have no rights whatsoever to any

payments made on account of such mortgage loans to any servicing rights related

to such mortgage loans or to any mortgaged properties securing such mortgage

loans MERS agrees not to assert any rights (other than rights specified in the

Goveming Documents) with respect to such mortgage loans or mortgaged

properties (E3,13:3, Vol. Il)

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MERS only acts when directed to by its members and for the sole benefit of the owners
and holders of the promissory notes secured by the mortgage instruments naming MERS as
nominee owner. For this reason, MERS’ ability to exercise any interests in mortgage loans
including the right to foreclose, is not sufficient to deem MERS as acquiring mortgage loans
under the Act because l\/lERS does not receive any of the benefits from taking such actions
MERS has no interest at all in the promissory note evidencing the mortgage loan. MERS has no
financial or other interest in whether or not a mortgage loan is repaid. As described above,
MERS simply holds mortgage liens in a nominee capacity and through its electronic registry,
tracks changes in the ownership of mortgage loans and the servicing rights related thereto.
MERS is clearly listed as a nominee in the mortgage, which is recorded in the real estate records
When a MERS member sells or transfers a mortgage loan or the servicing rights thereunder,
MERS tracks such sale or transfer in the MERS® System and there is no need for filing anything
in the real estate records because the mortgage lien remains with MERS. Once MERS becomes
the mortgagee of record of a mortgage, MERS remains the mortgagee of record of the mortgage
even when the beneficial ownership interest in the promissory note secured by the mortgage or
the servicing rights are sold or transferred from one MERS member to another. (E3, 3-5:3,
Vol. ll) ln addition, MERS is required by the various State recording statutes to have a
recordable interest in the mortgage in order for MERS to be named in the mortgage
Consequently, MERS is named as the mortgagee in a nominee capacity for the actual owner and
holder of the promissory note secured by the mortgagee as described above.

l\/lERS is not the owner of the promissory note secured by the mortgage and has no rights
to the payments made by the debtor on such promissory note. Rather, MERS holds the mortgage

lien as nominee for the owner of the promissory notew MERS is not the owner of the servicing

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rights relating to the mortgage loan and MERS does not service loans The beneficial interest in
the mortgage (or the person or entity whose interest is secured by the mortgage) runs to the
owner and holder of the promissory note. ln essence, MERS immobilizes the mortgage lien
while transfers of the promissory notes and servicing rights continue to occur. (E3,5:3, Vol. ll)

For the foregoing reasons MERS cannot be deemed to be acquiring mortgage loans
under the Act and does not otherwise meet the definition of a mortgage banker. Consequently,
the Court should reverse the District Court's Order that MERS is required to register as a
mortgage banker.

I.B.

THE DISTRICT COURT SHOULD HAVE RECOGNIZED THAT MERS’

OWNERSHIP OF A LEGAL INTEREST IN THE SECURITY

DOCUMENT DOES NOT EQUATE TO MERS’ OWNERSHIP OF THE

PROMISSORY NOTE OR OTHER DEBT INSTRUMENT EVIDENCING

THE LOAN MADE TO THE CONSUMER.

Each of the categories of persons listed in § 45-702(6) directly or indirectly receive
consideration from mortgage loans and have an ownership or servicing interest in the Ltes
secured by mortgages As more fully explained below, MERS does not make or acquire
promissory notes or debt instruments of any nature and therefore cannot be said to be acquiring
mortgage loans MERS simply holds legal title to mortgages and deeds of trust as a nominee for
the owner of the promissory note. MERS` has no interest in the notes secured by mortgages or the

servicing rights related thereto.

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The Department asserts that MERS directly or indirectly acquires mortgage loans
because MERS holds legal title to deeds of trust or mortgages in a nominee capacity for lenders
At the hearing on MERS’ Petition for Declaratory Order, counsel for the Department stated:
“MERS is the mortgage nominee or beneficiary nominee Therefore, it acquires the legal title to
the mortgage loan when the conveyance is recorded." (E2, 5:3, Vol. ll) Furthermore, the
Department asserts that MERS holds title to Nebraska real property. (E3, 4-5:3, Vol. ll) These
assertions by the Department are in error. MERS holds legal title to the mortgage or deed of
trust in a nominee capacity simply to immobilize the mortgage lien in MERS and to provide
MERS with a recordable interest to comply with the recording statutes of various states The
mortgage loan refers to the promissory note to which MERS does not acquire any interest.

The Department’s analysis is fundamentally flawed because it fails to recognize an
important distinction between a loan instrument and a security instrument By stating that
MERS acquires legal title to the “mortgage loan”, the Department confuses the analysis MERS
does not acquire any interest (legal or beneficial) in the loan instrument (i.e., the promissory note
or other debt instrument). Rather, MERS, in a nominee capacity for lenders merely acquires
legal title to the security instrument (i.e., the deed of trust or mortgage that secures the loan).

The Department’s position that “mortgage loans are not legally divided under the Act” is
incorrect. ln § 45-702(6), the word “mortgage” modifies the word “loans” to specify certain
types of loans - loans secured by interests in real property. The Act’s definition of a “mortgage
loan” in § 45-702(8) makes this point even more certain. Section 45-702(8) of the Act defines
“mortgage loan” to mean “any loan or extension of credit secured by a lien on real property,
including a refinancing of a contract of sale or an assumption or refinancing of a prior loan or

extension of credit.” Neb. Rev. Stat. § 45-702(8) (1998 and Supp. 2003) (emphasis added).

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Absent anything to the contrary, statutory language is to be given its plain meaning, and a
court will not look beyond a statute or interpret it When the meaning of its words are plain, direct
and unambiguous DLH, [nc. v. Lancasz‘er Counz‘y Board of Commissl`oners, 264 Neb. 35 8, 648
N.W.2d 277 (2002). Further, in Lz'z‘tle Blue Natural Resources District v. Lower Plal‘te North
Naz‘ural Resources District, 206 Neb. 535, 294 N.W.2d 598 (1980), the court stated:

Cardinal rules of statutory construction, however, prohibit us from ignoring entire

phrases of a statute or giving the plain meaning of a statute a strained or absurd

interpretation “Where the language of a statute is plain and unambiguous no
interpretation is needed and the court is without authority to change the

language.” Cz`ty of Grand Island v. Coum‘y of Hall, 196 Neb. 282, 286, 242

N.W.2d 858, 861 (1976).

ln interpreting the meaning of a statutory provision, the whole provision

should be read in order to arrive at a conclusion as to its proper meaning

Pertigrew v. Home ]nS. Co., 191 Neb. 312, 214 N.W.2d 920 (1974). Moreover,

courts should give statutory language its plain and ordinary meaning State v.

One 1970 2-D00r Sedan Rambler, 191 Neb. 462, 215 N.W.2d 849 (1974);

Connors v. Pantano, 165 Neb. 515, 86 N.W.2d 367 (1957).

Litz‘le Blue Natural Resources Districr, 294 N.W.2d at 603 (emphasis added).

From the plain face of § 45-702(8), it is clear that the Act is intended to regulate and to
require the licensure of persons who, inter alia, acquire “loans”, not persons who acquire
mortgages deeds of trust or other security instruments The words “any loan or extension of
credit” set forth in § 45-702(8) clearly suggest that the lending of money or extending of credit

or arranging for or negotiating the lending of money (for example a loan broker) is the conduct

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being regulated by the Act. This "plain meaning" interpretation of the Act's definition of
"mortgage loan" is in accord with the commonly understood meaning of the word "loan".

Webster's Dictionary defines "loan" as: money lent at interest; something lent usually for
the borrower's temporary use; etc. Merriarn Webster's Collegiate Dictionary 683 (10th ed. 1993).
Since MERS does not acquire any interest in a debt instrument evidencing a loan (i.e., money
being lent at interest) and does not make loans arrange for loans or negotiate the terms of loans
it cannot be said to be acquiring loans including mortgage loans and therefore it logically
cannot be deemed a mortgage banker. Thus, under a "plain meaning" interpretation of the Act,
including the definition of a mortgage banker, in order for a person to acquire a mortgage loan,
such person must acquire a legal or beneficial interest in the promissory note or other debt
instrument evidencing such mortgage loan.

As demonstrated above, the Act distinguishes the interests in the promissory note or debt
instrument on the one hand, from interests in the deed of trust or security instrument on the other.
lt is important to understand that MERS may acquire a legal interest in a mortgage or deed of
trust (as nominee for the actual lender) without acquiring any corresponding interest, legal or
beneficial, in the promissory note secured by such deed of trust. This is because the note owner
appoints MERS to be its agent to only hold the mortgage lien interest, not to hold any interest in
the note Besides MERS, other parties acquire legal interests in deeds of trust without being
deemed mortgage bankers under the Act. For instance, under the Nebraska Trust Deeds Act,
Neb. Rev. Stat. §§ 76-1001 to 76-1018 (1996 and Supp. 2003), a borrower may convey real
property by a trust deed to a third party trustee as security for the performance of the borrower’s
obligations to his/her lender. Although a trustee under the Nebraska Trust Deeds Act receives

legal title to the trust deed securing the borrower’s obligations the trustee often does not hold an

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interest (legal or beneficial) in the promissory note or debt instrument evidencing the borrower's
obligations As such, the trustee merely holds legal title in a nominee capacity for the lender,
much like MERS. Yet, neither the Trust Deeds Act nor the Mortgage Bankers Act requires such
trustees to register as a mortgage banker, despite holding legal title.

ln addition to the foregoing, courts have frequently noted the critical difference between
loan instruments and security instruments A mortgage and a promissory note are separate and
distinct documents Craddock v. Brz`nkley, 671 So. 2d 662, 665 (Miss. 1996).

Accordingly, a person may hold legal title to a note while appointing another entity to
hold legal title to the mortgage securing such note ln the mortgage banking industry, it is
standard industry practice for an investor, such as Fannie Mae or Freddie l\/lac, to hold legal title
to notes secured by mortgages and use a separate servicing entity to hold title to the mortgage via
a recorded mortgage or assignment With the development of MERS, these interests are now
split three ways instead of two. The investor continues to own and hold the promissory note, but
under the MERS® System, the servicing entity only holds contractual servicing rights and
MERS holds legal title to the mortgage as nominee for the benefit of the investor (or owner and
holder of the note) and not for itself. MERS does not hold any interest (legal or beneficial) in the
promissory notes that are secured by Such mortgages or in any servicing rights associated with
the mortgage loan. The debtor on the note owes no obligation to MERS and does not pay MERS
on the note MERS holds legal title to the mortgage for the benefit of the owner of the note. ln
effect, the mortgage lien becomes immobilized by MERS continuing to hold the mortgage lien
when the note is sold from one investor to another via an endorsement and delivery of the note or
the transfer of the servicing rights from one MERS member to another MERS member via a l

purchase and sale agreement which is a non-recordable contractual right. Legal title to the

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mortgage remains in MERS after such transfers and is tracked by MERS in its electronic
registry. (E3, 4-5:3, Vol. ll)

As demonstrated above, MERS cannot be deemed to be acquiring mortgage loans under
the Act because it does not obtain legal or beneficial title in loan instruments MERS does not
acquire an interest in promissory notes or debt instruments of any nature Plainly interpreted, the
Act requires the licensure of persons who acquire loans of the mortgage variety (i.e., loans
secured by mortgages). For these reasons the Court should recognize that MERS’ ownership of
a legal interest in the security documents registered on the MERS® System does not equate to
MERS ownership of the debt instruments evidencing the loans made to consumers The Court
should further recognize that without owning an interest in the debt instruments MERS cannot
be deemed to be acquiring mortgage l_oa_ns_ under the Act. As a result, the Court should reverse
the District Court's Order that MERS is required to be registered as a mortgage banker.

For the foregoing reasons the District Court erred in concluding that MERS meets the
definition of a "mortgage banker" under Neb. Rev. Stat. § 45-702(6). Consequently, the Court
should reverse the District Court's Order and determination that MERS is required to register as a
mortgage banker under the Act and the Court should find that MERS is not a mortgage banker
under the Act and is therefore not required to register under the Act.

II.
THE DISTRICT COURT ERRED BY FAILING TO DETERMINE THAT
MORTGAGE LOAN CONSUMERS WILL NOT BE HARMED IF MERS

IS NOT REGISTERED AS A MORTGAGE BANKER.

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The Department asserts that a number of potential problems for mortgage loan customers
could arise if MERS is not registered as a mortgage banker, including:

l. MERS keeps all of its records for mortgage transactions in its central
database, which is accessible only to its clients with a legal interest in the
mortgage

2. Without licensure, MERS is not required to post a surety bond or other
form of security to protect consumers from damages resulting from its
potential inaction or action.

3. Due to the private nature of MERS’ business if MERS goes out of
business its records may become completely inaccessible to the public
and the expenses to update the public records may be significant

4. MERS may fail to timely release the security interest it holds legal title to
under a deed of trust or mortgage when a mortgage loan is paid off.

5. Consumers may discover that real estate liens are not properly recorded,
and if MERS is not required to maintain a license, MERS does not have an
incentive to answer consumer complaints and consumers would not have a
venue (E2, 10-11:3, Vol. ll)

The Department’s concern with each of these potential problems is misplaced ln the
mortgage banking industry, after a mortgage loan is made, it is standard practice for the
promissory note evidencing the loan and the servicing rights associated with the loan to be
transferred, sold and resold many times Prior to MERS, an assignment or other appropriate
document was required to be filed in the real estate records each time the servicing rights of a

mortgage loan were transferred because the new servicer needed to appear in the land records in

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order to receive service of process This resulted in missed or inaccurate assignments causing an
unclear or broken chain of title to a mortgage loan in the real estate records As a consequence,
the transfer of the ownership interest in, including legal title to, mortgage loans and the servicing
rights relating to mortgage loans and the release of mortgage liens was a cumbersome and
expensive process to all involved, including consumers because the research and recording costs
are often passed on to the consumer. (E3, 3:3, Vol. ll)

The MERS® System provides an enormous cost benefit to consumers because these
recording and research costs which were formally passed on to the consumers no longer exist
under the MERS® System. The MERS® System simply is a way to increase the efficiency and
accuracy of tracking the ownership of the rights associated with mortgage loans so that the
mortgage industry can better and more economically serve a greater number of people What
MERS tracks are non-recordable transfers Servicing rights are transferred vis-a-vis a purchase
and sale agreement which is a non-recordable contract right. The beneficial note interests are
transferred by endorsement and delivery of the note which is also a non-recordable event. The
mortgage lien remains with MERS so no assignment of the mortgage lien is needed when these
non-recordable transfers occur and are tracked on the MERS® System.

Other than the cost savings that the MERS® System passes on to consumers of loans
from MERS members consumers are largely unaffected by MERS’ involvement in the mortgage
banking industry. lt is true that MERS’ registry or database (tracking the ownership interest and
servicing rights) is only accessible by MERS’ members the public, at no cost, has access to the
name and telephone number of the current mortgage servicer 7 days a week, 24 hours a day. lt is
the servicer that the consumer needs to contact for specific loan information, not MERS.

Moreover, the MERS® System does not adversely affect the borrower’s right to such

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information because, under federal laws each time the servicing rights to a mortgage loan
change, the borrower is notified of the new servicer of the loan. See 24 C.F.R. Part 3500.21 as of
4/1/03 (HUD's Reg. X).

Furthermore, none of the other potential problems noted above by the Department
adversely affect consumers MERS is largely transparent to the consumer. Original lenders of
mortgage loans investors who purchase or acquire mortgage loans on the secondary market, and
servicers of mortgage loans are the “persons” under the Act that mortgage loan consumers need
to be protected from because it is these persons who actually underwrite loans make loans
service loans acquire loans and ultimately decide whether or not a consumer is in default on the
loan.

MERS does not collect mortgage payments MERS does not hold escrows for taxes and
insurance MERS does not provide any servicing functions on mortgage loans whatsoever.
Those rights are typically held by the servicer of the loan, who may or may not also be the holder
of the note The beneficial interest in the mortgage (or the person or entity whose interest is
secured by the mortgage) runs to the owner and holder of the promissory note and/or servicing
rights thereunder

From a consumer protection standpoint, MERS is invisible to a consumer. ln the event a
consumer has a problem with his/her mortgage loan, such consumer is not going to contact
MERS, but the servicer of the loan. As MERS merely holds legal title to the security instrument
as nominee for the lender, it lacks authority to do anything more than notify the lender or loan
servicer of the consumer's complaint Other than holding legal title to the security instrument in

order to immobilize the lien in the real estate records any other action taken by MERS with

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respect to a consumer's mortgage loan is taken at the direct instruction of the lender or loan
servicer and for such lender or loan servicer’s benefit.

To further illustrate this lack of authority, the Terrns and Conditions governing the
relationship with MERS and its members provides

MERS shall serve as mortgagee of record with respect to all such mortgage loans

solely as a nominee, in an administrative capacity, for the beneficial owner or

owners thereof from time to time MERS shall have no rights whatsoever to any

payments made on account of such mortgage loans to any servicing rights related

to such mortgage loans or to any mortgaged properties securing such mortgage

loans MERS agrees not to assert any rights (other than rights specified in the

Governing Documents) with respect to such mortgage loans or mortgaged

properties (E3, 13:3, Vol. ll)

Based upon the foregoing, there is no benefit to mortgage loan consumers in requiring
MERS to be licensed as a mortgage banker. MERS’ sole function to the mortgage banking
industry is to track changes in the ownership and servicing rights in mortgage loans on its
electronic registry. ln order for MERS to track such changes the recording laws require MERS
to hold legal title to the deed of trust securing the consumer’s mortgage loan in a nominee or
administrative capacity for the real lender. The Act is intended to protect consumers from
lenders and loan service providers not MERS, because these are the parties that make decisions
with respect to consumers’ mortgage loans Any action taken by MERS with respect to a
consumer’s mortgage loan is taken at the direct instruction of the lender or loan service provider.

Because consumers will not be harmed if MERS is not registered as a mortgage banker, the

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Court should reverse the District Court’s Order that MERS is required to be registered as a
mortgage banker.
CONCLUSION

MERS does not meet the Act’s definition of a mortgage banker. MERS does not
directly or indirectly make, originate, service negotiate, acquire, sell, arrange for or offer to
make, originate, service, negotiate, acquire, sell, arrange for mortgage loans MERS does not
receive compensation or gain in consideration for its performance of any of the mortgage
banking activities described in the Act. MERS does not obtain legal or beneficial title to
promissory notes or other debt instruments therefore, under a “plain meaning” interpretation of
the Act, it cannot be deemed to be acquiring mortgage loans Finally, mortgage loan consumers
will not be harmed if MERS is not required to register as a mortgage banker. For the foregoing
reasons MERS is not a mortgage banker for purposes of § 45-702(6), and the District Court’s
Order and conclusion that MERS is required to register as a mortgage banker under the Act
should be reversed

DATED this 14th day of October, 2004.

MORTGAGE ELECTRONIC REGlSTRATlON
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CERTIFICATE OF SERVICE

l hereby certify that a copy of the above and foregoing Brief Of Appellant was served upon
Defendant/Appellee by mailing two copies of same to the following addresses by regular United
States mail, postage prepaid, this 14th day of October, 2004:

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